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IN THE UNITED STATES DISTRICT COURT
YOR THE DISTRICT OF COLUMBIA

JOHN DOE IT, et al.,
Plaintiffs,
V. Civ. No. 01-1357 (LFO)
EXXON MOBIL CORPORATION, et al,

Defendants.

PLAINTIFFS? MEMORANDUM IN OPPOSITION TO
DEFENDANT EXXONMOBIL OIL INDONESIA, INC.’S
MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

REDACTED PUBLIC VERSION

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INTRODUCTION

This Court has personal jurisdiction over Defendant ExxonMobil Oil Indonesia, Inc.
(“EMOP?’) for two independent reasons. First, the Court has jurisdiction under D.C. Code
§ 13-423, because EMOI transacted business in the District of Columbia directly and through its
agent. ‘and because Plaintiffs’ claims relate to those jurisdictional contacts.
Second, and separately, the Court has jurisdiction because the jurisdictional contacts of
Defendants ExxonMobil Corporation (“EMC”), Mobil Corporation (“MC”), and Mobil Oil
Corporation (“MOC”) (collectively the “Parent Companies”), over which the Court concededly
has jurisdiction, should be attributed to EMO! under an “alter ego” or “integrated enterprise”
analysis. Either of these grounds ts sufficient for the Court to deny EMOI’s motion to dismiss.
Here, the limited discovery allowed by this Court pursuant to its Orders of March 2, 2006 and
May 3, 2006 (Docket Nos. 138, 158) makes clear that both jurisdictional tests are met.
Resolving any issues of fact in Plaintiffs’ favor, as it must, the Court should therefore deny
EMOI’s motion.’

STATEMENT OF FACTS

Plaintiffs filed suit in the United States District Court for the District of Columbia on
June 19,2001. Defendants EMC, MC, and MOC did not contest this Court’s jurisdiction,
Defendant EMOI, then a Delaware corporation, moved to dismiss for lack of personal
furisdiction, Dkt. 13, Oct. 1, 2001. The Court denied EMOI’s motion, without prejudice, and

authorized Plaintiffs to conduct limited jurisdictional discovery outside of Indonesia.” Dkt. 103,

Even were the Court to decide that if does not have jurisdiction over EMOT, the case against the other

defendants should continue because Plaintiffs’ allegations sufficiently reach the Parent Companies. See Plaintiffs’
Memorandum in Response to Defendants’ Summary Judgment Motion.

2 The limited discovery allowed by this Court pursuant to its Orders of March 2, 2006 and May 3, 2006
{Docket Nos. 138, 158) did not permit discovery from EMOI’s headquarters in Indonesia, This limitation curtailed

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Mem. and Opinion, Oct. 14, 2005, Contrary to the self-serving factual recitation in EMOI’s
motion, the evidence in this case establishes that EMOI transacted business in the District of
Columbia directly and through its agent, ;, and the Parent Companies so dominated
EMOLI that it had no separate corporate personality,

1 EMOT TRANSACTED BUSINESS IN THE DISTRICT OF COLUMBIA

EMOI transacted business in the District of Columbia directly and through its agent,

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Plaintiffs’ access to evidence establishing EMOI’s jurisdictional contacts with the District of Columbia, as well as
EMOI’s alter ego or integrated enterprise relationship to the Parent Companies. Although even this limited
discovery clearly establishes jurisdiction over EMOI, if the Court nevertheless finds the current Record insufficient
to establish personal jurisdiction over EMOI, it should order further discovery of EMOI on these issues, See Burnett
vy. Al Baraka Dry. & Devel. Corp., 274 F, Supp. 2d 86, 97 (D.D.C. 2003) (permitting personal jurisdiction discovery
over Saudi Arabia bank); /# re Vitamins Antitrust Litig., 120 F, Supp. 2d 45, 51 (D.D.C, 2000) (“[T]he Court does
not believe that the sovereign interests of these foreign signatory nations would be any more offended by this
narrowed jurisdictional discovery than they would be by the broader, merits-related discovery allowed by [Societe
Nationale Industrielle Aerospatiatle, 482 U.S. 522 (1987)].").

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Il. THE PARENT COMPANIES DOMINATED EMOI

The Parent Companies so dominated EMOT that it had no separate corporate personality.
As such, EMOI was merely the alter ego of the Parent Companies and part of a single, integrated
enterprise. SMF §{ 7-31; Devor Decl. {{] 8-65. Although the facts are discussed in detail -
below, a few key examples serve to illustrate how EMO] lacked its own separate corporate

personality.

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ARGUMENT

Ill, ALL DISPUTED FACTS MUST BE RESOLVED IN PLAINTIFFS’ FAVOR

While Plaintiffs have the burden to prove personal jurisdiction by a preponderance of the
evidence, this burden is “only a minimal [one,]” Jacobsen v. Oliver, 201 F. Supp. 2d 93, 104
(D.D.C. 2002); see also Abramson v. Wallace, 706 F, Supp. 1, 2 (D.D.C, 1989), and all factual
discrepancies must be resolved in Plaintiffs’ favor, even after jurisdictional discovery has

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occurred. See Jung v. Ass’n of Am. Med. Colleges, 300 F. Supp. 2d 119, 128 (D.D.C, 2004);
Arista Records, Inc. v. Sakfield Holding Co., 314 F. Supp. 2d 27, 30 (D.D.C. 2004) (citing Crane
v, New York Zoological Soc’y, 894 F.2d 454, 456 (D.C. Cir. 1990)); see also Johnson-Tanner v.
First Cash Fin. Servs., inc., 239 F. Supp. 2d 34, 37 (D.D.C. 2003). This rule is necessary
because disputed facts “are for the trier of fact at trial, not a court determining the sufficiency of
a motion to dismiss for want of jurisdiction.” Dooley v. United Tech, Corp., 786 F. Supp. 65, 73
(D.D.C. 1992); ef Schwartz vy. CDI Japan, Ltd., 938 F. Supp. 1, 7 (D.D.C. 1996) (whether
agency relationship existed, subjecting defendant to personal jurisdiction under the District’s
long-arm statute, was question of fact precluding finding of no jurisdiction).

IV, THE COURT HAS JURISDICTION UNDER D.C, CODE 8 13-423

The Court has jurisdiction under D.C. Code § 13-423 because EMOI transacted business
in the District of Columbia directly and through its agent, .. ind because Plaintiffs’
claims relate to these transactions.’ Under § 13-423,
(a) A District of Columbia court may exercise personal jurisdiction over a person,
who acts directly or by an agent, as to a claim for relief arising from the person’s
(1) transacting any business in the District of Columbia .. . . (b) When jurisdiction
over a person is based solely upon this section, only a claim for relief arising from
acts enumerated in this section may be asserted against him.

D.C, Code § 13-423.

The first prong of this standard, § 13-423(a)(1), “allows for jurisdiction to the fullest
extent possible under the due process clause of the United States constitution, and ‘its

construction is subsumed by a due process analysis.’” Shapiro, Lifschitz & Schram, P.C. v.

Hazard, 90 F. Supp. 2d 15, 19 (quoting Fisher v. Bander, 519 A.2d 162, 163 (D.C, 1986)); see

4 A federal district court is authorized to assert personal jurisdiction over a nonresident to the extent
permissible under the law of the state where the district is located, See Tavoulareas v. Comnas, 720 F.2d 192, 193
(D.C, Cir. 1983).
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also Shoppers Food Warehouse v. Moreno, 746 A.2d 320, 329 (D.C. 2000) (“§ 13-423(a)(1) is
coextensive in reach with the personal jurisdiction allowed by the Due Process Clause of the
United States Constitution”); Crane v. Carr, 814 F.2d 758, 762 (D.C. Cir. 1987). Thus, the
question is whether EMOI had “minimum contacts” with the District such that exercising
jurisdiction would not offend “traditional notions of fair play and substantial justice” under the
due process standard the Supreme Court established in Jnternational Shoe Co. v. Washington,
326 U.S. 310, 316 (1945). Abramson, 706 F, Supp. at 2.

The second prong, § 13-423(b), has been interpreted broadly to be synonymous with
“relate to” or “have a substantial connection with.” Shoppers Food Warehouse, 746 A.2d at 332.
Importantly, “there are no ‘mechanical tests’ or ‘talismanic formulas’ for the determination of
personal jurisdiction under § 13-423(a)(1) and (b), and the facts of each case must be weighed

against notions of fairness, reasonableness and substantial justice.” Jd. at 329.

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should be denied.

A. EMOI Transacted Business in the District of Columbia Directly and
Through Its Agent

Section 13-423(a)(1) has a “broad reach” covering “the transaction of ‘any business.””
Steinberg y. Int'l Criminal Police Organization, 672 F.2d 927, 932 (D.C. Cir. 1981) (Skelly
Wright, J., concurring). A “nonresident defendant may be considered to have transacted
business within the meaning of § 13-423(a)(1) without ever having been physically present in the
District, and, under certain circumstances, even a single act may be sufficient to bring a
defendant within the purview of the statute.” Reiman vy, First Union Real Estate Equity &
Mortgage Investments, 614 F, Supp. 255, 256-57 (D.D.C. 1985); see also First American Corp.
vy, Al-Nahyan, 948 F. Supp. 1107, 1121 (D.D.C. 1996) (citing Mousavires v, Baxter, 434 A.2d
988, 992 (D.C. 1981)); Chrysler Corp. v, General Motors, Corp. 589 F, Supp. 1182, 1205
(D.D.C. 1984) (holding that under §13-423(a), less of a nexus between the defendant and the
District of Columbia is required for a finding of jurisdiction than under the “doing business” test
used to determine corporate presence).

EMOIl’s contacts with this jurisdiction include EMOI’s own business transactions with
and in the District and the actions of Robert Haines, EMOI’s agent. These contacts should be
examined in the aggregate when determining whether EMO! is subject to the Court’s
jurisdiction. See SL Montevideo Technology, Inc. v. Eaton Aerospace, LLC, No. Civ. 03-3302,
2004 WL 415257, at *3 (D. Minn. March 2, 2004) (even where “none of these contacts alone
would be sufficient to establish jurisdiction, taken cumulatively” they are enough to establish
jurisdiction).

1. EMOI Directly Transacted Business in the District

EMOIT’s direct contacts with the District of Columbia included

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[See, e.g., Ford y.

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RDIWCaesars Riverboat Casino, LLC, 503 F, Supp. 2d 839, 841-42 (W.D. Ky. 2007) (relevant

factor in jurisdictional analysis was defendant’s activity in the state as a sponsor of events and
charitable donor); National Paintball Supply, Inc. v. Cossio, 996 F. Supp. 459 (E.D. Pa. 1998)
(finding general jurisdiction where forum contacts consisted of sponsoring two trade shows and
selling an insurance policy in the state),

2. EMOI Transacted Business in the District Through its Agent

In Rose v. Silver, 394 A.2d 1368 (D.C. 1978), the District of Columbia Court of Appeals
found that a foreign corporation was transacting business in the District of Columbia by virtue of
hiring an agent to represent it before the FDA: “even without regard to the occasional visits to

the District by appellees’ other representatives, [that] appellees were ‘transacting . . . business’ in

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the District ‘by an agent’ within the meaning of 13-423(a)(1).” Jd. at 1371 (ellipsis in original);
see also Biton v. Palestinian Interim Self-Government Authority, 310 F. Supp, 2d 172, 180
(D.D.C, 2004) (finding personal jurisdiction over Palestinian Authority because it had a
Washington Representative and employed a lobbying firm to provide advocacy training and

assistance with developing a public relations campaign)

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“To determine if a party is an “agent,” courts look to the entire relationship for evidence of
a sufficient degree of control exercised by the principal and mutual consent by the agent.
Johnson y. Bechtel Assoc. Professional Corp., 717 F.2d 574, 580 (D.C. Cir. 1983), rev'd on
other grounds sub nom, Washington Metro, Area Transit Auth, v, Johnson, 467 U.S, 925 (1984);
C & E Services, Inc. v. Ashland, Inc., 498 F. Supp. 2d 242, 264 (D.D.C, 2007); Smith v. Jenkins,
452 A.2d 333, 334 (D.C. 1982). This can be shown by the actual course of dealings between the
parties, and not just the formalities of the relationship. Safeway Stores, Inc. v. Kelly, 448 A.2d
856, 860 (D.C. 1982); Snyder v. Hampton Industries, Inc., 521 F. Supp. 130, 142 (D. Md, 1981)
(agency may be implied from the words and conduct of the parties and the circumstances),
Daynard y, Ness, Motley, Loadholt, Richardson & Poole, P.A., 290 F.3d 42, 56 (1st Cir. 2002)
(jurisdiction based on agency appropriate where principal accepted and encouraged agent’s

assistance).’ A principal-agent relationship can be established for the purpose of a single

; In order to establish the agency relationship, EMOI need not have “exercised complete dominion” over the
agent. Transamerica Leasing, Inc. y. La Republica de Venezuela, 200 F.3d 843, 849 (D.C. Cir, 2000} (“If such

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transaction or series of transactions and need not constitute a master-servant relationship.
Restatement (Second) of Agency § 1 (1958), comment (e) (“[T]he attorney-at-law, the broker,
the factor, the auctioneer, and other similar persons employed either for a single transaction or
for a series of transactions, are agents, although as to their physical activities they are
independent contractors.”). “[W]hether an agency relationship exists is a question of fact.”
Smith, 452 A.2d at 335; see also Schwartz, 938 F. Supp. at 8 (converting motion to dismiss for
lack of jurisdiction into motion for summary judgment, and finding that agency was question of
fact about which material disputes remained, precluding summary judgment on jurisdictional
question).

It is axiomatic that the activities of an agent in the District are attributable to the principal
for the purposes of establishing personal jurisdiction. Rose, 394 A.2d 1368; Chase, 617 F. Supp.
at 1424; Biton, 310 F, Supp.2d 172; see also Bechtel & Cole vy. Graceland Broadcasting, Inc., 18
F.3d 953 (D.C, Cir, 1994); Wiva v. Royal Dutch Petroleum, 226 F.3d 88 (2d. Cir. 2000)
(investor relations office within the forum was an agent of the defendant oil company for
personal jurisdiction purposes). The activities of EMOT’s agent =~ can therefore

establish that EMOI was transacting business in the District under D.C. Code § 13-423(a)(1).

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domination were required, then agency principles would be superfluous because . , , the sovereign would be subject
to suit on the ground that instrumentality and sovereign were in fact a single entity.”).

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Thus, the jurisdictional contacts of EMOI—both on its own and through its agent—
constitute “transacting business” and satisfy the requirements of D.C, Code § 13-423(a)(1).
EMOID’s substantial contacts with the District of Columbia were not random, fortuitous,

accidental or attenuated. Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984). Rather,

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3, ~ The Government Contacts Exception Does Not Apply to EMOI’s Contacts
with the District

The Court should reject EMOI’s argument that its contacts with the District of Columbia
should be excluded from the personal jurisdiction analysis under the “government contacts”
exception. The government contacts exception is a narrow doctrine designed only to protect a
person’s right to petition the United States government under the First Amendment. Kose at
1374 (D.C. 1978); Johns v. Rozet, 770 F. Supp. 11, 19 (D.D.C. 1991) ([T]he First Amendment
provides the only principled basis for exempting a foreign defendant from suit in the District of
Columbia, when its contacts are... sufficient to withstand a traditional due process attack.”),
As the District of Columbia Circuit has explained, a ‘““blanket exemption for governmental
contacts no longer exists in the District of Columbia.’” Steinberg, 672 ¥.2d at 932; Chrysler v,

General Motors, 589 F, Supp. 1182, 1198 (D.D.C. 1984),

" EMO!’s contacts are far more substantial than the meager connection to the District found in Defendants’
cases. See, e.g., Brunson y, Kalil & Co., Inc., 404 F, Supp. 2d 221, 229 (D.D.C, 2005) (no specific jurisdiction
where the Defendant had only two contacts with the District—an unrelated conversation with a lawyer and
communications with a non-party corporation). In fact, Cohane v. Arpeia-Cal., Inc., 385 A,2d 153 (D.C. 1978), on
which EMOI relies, found specific personal jurisdiction over a California corporation being sued by a Delaware
resident for breach of contract based only on the fact that the plaintiff's sales territory included the District and that
the defendant occasionally shipped goods to the District, even though the damages in the case resulted only from
activity outside the District. 385 A.2d at 158-59 (“Once . . . the claim is related to acts in the District, § 13-423 does
not require that the scope of the claim be limited to activity within this jurisdiction.”).

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The “government contacts” exception precludes the assertion of personal jurisdiction
over a non- resident if the en/y contact in the District of Columbia is with Congress or a federal
agency, Bechtel, 18 F.3d at *1; Chase, 617 F. Supp. at 1425; Chrysler Corp., 589 F. Supp. at
1199, “As the extent of a non-resident’s contacts with this district increase, and include both
governmental and private contacts, the force of the rule is lessened.” Jd. EMOI’s contacts with
the District of Columbia were not solely, or even predominantly, with the federal government.
Instead, its contacts were primarily private contacts with no relation to the federal government.
Thus, the government contacts exemption, which exempts “getting information from or giving
information to the government, or getting the government’s permission to do something,”
Naartex Consulting Corp v. Watt, 722 F. 2d 779, 786 (D.C. Cir. 1983), does not apply.

Moreover, the contacts upon which Plaintiffs rely to establish personal jurisdiction are
plainly not “government contacts.” For example, : , ogee
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“sovernment contacts.” Bechtel, 18 F.3d at *2 (contacts between client and agent fall outside
government contacts exception, even where agent was hired to conduct government business);
Dooley, 786 F. Supp. at 75 (memoranda, phone calls, emails and meetings, even when related to
contacts with the United States government, are not excluded under the exception). As Chase
explains, “in other cases which have invoked the governmental contacts doctrine the contacts in
issue have always been direct contacts between the defendant and the ‘federal instrumentality’
and not ones between the defendant and his attorney or agent.” 617 F. Supp, at 1427.

As in Chase, “this is not a case where the ‘minimum contacts’ are between the

defendant[] and a federal agency” /d. at 1418. The bulk of EMOI’s contacts in the District were

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8 EMOI’s misplaced attempt to expand the government contacts exception to exclude “contacts with foreign
embassies” therefore must fail. See Def. Mem. at 12, The cases EMO1 itself cites stand for no such proposition.
See, e.g., Gibbons & Ca. v. Roskamp Inst., No. 06-720, 2006 WL 2506646, at *3 (D.D.C. Aug. 28, 2006)
(defendant’s “only connection with the District was its meeting with Congressional officials,” squarely within the
government contacts exception); Fasolyak vy. The Cradle Society, Inc., Civ. A. No, 06-01126, 2007 WL 2071644, at
*10(D.D.C, July 19, 2007) (plaintiff did not allege that defendants had any contact with foreign government
representatives or embassies); World Wide Minerals Lid. v. Republic of Kazakhstabn, 116 F, Supp. 2d 98 (D.D.C,
2000) (“[T]he alleged meetings at the Republic of Kazakhstan Embassy will be considered.”)}. F andel vy, Arabian
American Oil Co.— in which the defendant had insufficient contacts to support jurisdiction under D.C. Code § 13-
334, a statute used to convey general jurisdiction that is not at issue here—does not support EMOI’s contention that
the government contacts exception should exclude EMOT’s contacts with the District. See 345 F.2d 87, 89 (D.C.
Cir, 1965}, Contacts can be insufficient for jurisdiction under § 13-334, but still sufficient to find jurisdiction under
the long-arm statute, where even a single contact can suffice. See Arista Records, 314 F. Supp. 2d at 31, (finding
jurisdiction under § 13-423(a), and requiring further discovery to determine if jurisdiction under D.C. Code § 13-334
also obtained). AGS Int'l Services y. Newmont USA Ltd., 346 FP. Supp.2d 64 (D.D.C 2004), is a case where, as
Chase explained, the contacts were not between the defendants and their agent, but direct contacts of the defendants
with the government. 617 F. Supp. at 1427.

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Moreover, proprietary contacts do not fall with the government contacts exemption, even
if the contacts are with the United States government. Lex Tex Ltd, Inc. v. Skillman, 579 A.2d

244. 250 (D.C. 1990), Here. Plaintiffs do not rest their argument on avy contacts with the United

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B. Plaintiffs’ Claims Relate to EMOI’s Contacts with the District of Columbia

Plaintiffs’ claims relate to the business transacted by EMOIan =). ~~ EMOT’s
behalf. District of Columbia courts interpret the “arise from” language found in § 13-423(b)
“flexibly and synonymously with ‘relate to’ or having a ‘substantial connection with,’ in the
same way that the Supreme Court’s due process analysis has used these terms interchangeably.”
Shoppers Food Warehouse, 746 A.2d at 332, 335. The Court can therefore exercise personal
jurisdiction over EMOI so long as Plaintiffs’ tortious allegations are related to or substantially
connected with EMOI’s business activity in the District of Columbia. Under this standard, all
that is required is a “discernable relationship” between EMOI’s activities in the District and
Plaintiffs’ claims. Skeppers Food Warehouse, 746 A.2d at 335-36 (citing Trerotola v. Cotter,
601 A.2d 60, 64 (D.C. 1991)).""

Shoppers Food Warehouse is particularly instructive. In that case, the plaintiff slipped

" In evaluating the nexus between the forum and the litigation, it is immaterial whether EMOI’s activities in

the District were directed at Plaintiffs. Jacobsen, 201 F, Supp. 2d 93, 106 (D.D.C. 2002),

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and fell in the defendant’s supermarket in Takoma Park, Maryland. See 746 A.2d at 323. The
defendant’s only contacts with the District of Columbia consisted of advertisements placed in the
Washington Post, and there was no evidence that the plaintiff ever saw the advertisements. See
id. Nevertheless, the court concluded that the plaintiffs injury was “related to” the
advertisements, giving the court personal jurisdiction over the defendant. Jd. at 336, Thus, the
nexus requirement of § 13-423(b) is not demanding and is clearly met here, Against the
backdrop of this standard, Plaintiffs’ claims which result from injuries sustained by EMOI’s

security actions, relate to EMOI’s District of Columbia contacts in at least three ways:

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Vv. THE JURISDICTIONAL CONTACTS OF THE PARENT COMPANIES
SHOULD BE ATTRIBUTED TO EMOI UNDER AN “ALTER EGO” OR
“INTEGRATED ENTERPRISE” ANALYSIS

A second, independent, basis for this Court’s exercise of personal jurisdiction over EMOT
is that the jurisdictional contacts of EMOI’s Parent Companies—which have conceded
jurisdiction before this Court—should be attributed to EMOI under an “alter ego” or “integrated
enterprise” analysis. See Material Supply Int'l, Inc. v. Sunmatch Indus. Co., 62 F. Supp. 2d 13,
19-20 (D.D.C. 1999). Under the facts of this case, both tests are satisfied such that the forum
contacts of the Parent Companies should be attributed to EMO] for jurisdictional purposes.

A. EMOT Is the Alter Ego of the Parent Companies

The Court has jurisdiction over EMOT as an alter ego of the Parent Companies, for which
personal jurisdiction is not in doubt. See Docket 104. “[[]fa parent and subsidiary ‘are not
really separate entities,’ ... or one acts as an agent of the other,” the local company’s contacts
can be imputed to the foreign affiliate. Johnsen-Tanner, 239 F. Supp. 2d at 38. In such cases,
the affiliate will be found to be transacting business in the forum state through the activities of
the local entity. Jd, Thus, the alter ego test does not require a showing that the defendant
deliberately engaged in actions directed toward the forum state. Color Systems, inc. v. Meteor
Photo Reproduction Systems, No. 86-2516, 1988 WL 13187, at *3-4 (D.D.C. Feb. 11, 1998),'°

To determine whether the jurisdictional contacts of the Parent Companies should be
imputed to EMOI under an alter ego analysis, the Court should apply a two-prong test:

(1) whether a unity of interests and ownership exists between EMOI and the Parent Companies

such that the separate personalities between the entities no longer exists; and (2) whether an

® The alter ego test in other jurisdictions is sometimes articulated using similar language to that found in the

District of Columbia. Notably, different jurisdictions have taken somewhat different approaches to the alter ego
analysis. “[T]t is undeniably true that few if any American jurisdictions have been as willing to pierce the veil as
have the courts of the District of Columbia.” Stephen B. Presser, PIERCING THE CORPORATE VEIL §2:9 (2007),

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inequitable result would follow if the Court were to treat them as separate entities. Labadie Coal
Co. v. Black, 672 F.2d 92, 96 (D.C. Cir. 1982); Johnson-Tanner, 239 F. Supp. 2d at 38. The first
prong considers “the degree to which formalities have been followed to maintain a separate
corporate entity.” Labadie Coal Co., 672 F.2d at 96. The second “looks to the basic issue of
fairness under the facts.” /d. Both prongs of the test are met in this case.

l. A Unity of Interests Exists Between EMOI and EMC, MC, and MOC

In determining whether a unity of interests exists, courts look to the “totality of the
relationship between the parent and its subsidiary.” MCI Communications Corp. v. AT&T, No.
79-1182, 1983 WL 1881, at *7-8 (D.D.C. Oct. 4, 1983). A unity of interests is established if the
parent companies had “active and substantial control” of the subsidiary during the relevant
period in the lawsuit. Johnson-Tanner, 239 F. Supp. 2d at 38 (citing Shapiro, Lifschitz &
Schram, 90 F. Supp. 2d 15, 23 (D.D.C, 2000),

Adherence to a few corporate formalities does not immunize a corporation from veil
piercing. Hart v. Dep't of Agriculture, 112 F.3d 1228, 1231 (D.C. Cir. 1997) (“Even a ‘valid
corporation’ may be so dominated by its principal shareholder as to lose its separate
personality.”), Moreover, while a given formality “may be true in a technical sense,” it should
not be given weight if it “does not accurately reflect the reality of” the relationship. FZynn v.
Ohio Building Restoration, Inc., 317 F. Supp. 2d 22, 33 (D.D.C, 2004).

Among the factors the Court should consider when making the alter ego determination
are: (1) whether parent and subsidiary have common business departments; (2) whether the
parent finances the subsidiary, commingles funds or other assets, and diverts one corporation’s
funds to the other’s uses; (3) whether the parent incorporated the subsidiary; (4) whether the
subsidiary is inadequately capitalized; (5) whether the entities file consolidated financial
statements and tax returns; (6) whether the entities have overlapping directors and officers, (7)

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whether the parent controlled the subsidiary day-to-day; (8) whether any employee of the parent
made hiring and firing decisions for the subsidiary; (9) whether there was a transfer of personnel
back and forth between the entities; and (10) whether the parent headquarters maintained records
for the subsidiary and shared a business location. See Johnson-Tanner, 239 F. Supp. 2d at 39;
Material Supply, 62 F. Supp. 2d at 20. Consideration of these factors in this case leads to the
conclusion that there is sufficient unity of interest and ownership between EMO! and the Parent
Companies to “blur any distinction” between their corporate personalities for the purpose of
establishing personal jurisdiction. See Johnson-Tanner, 239 F. Supp. 2d at 39.

Johnson-Tanner illustrates how these factors are applied in the District of Columbia
given a factual scenario very similar to the record here. In Johnson-Tanner, the district court
found a subsidiary to be the alter ego of its parent corporation because of the parent’s control
over “supervisory employees and [the parent’s] high degree of oversight and management
activity.” Johnson-Tanner, 239 F, Supp. 2d at 40, The court concluded that there was a unity of
interests between the parent and subsidiary after finding that the companies had at least three
common officers and directors, the companies had undifferentiated use of office equipment such
as phones and computers, directors of the parent company initiated the transfer of an employee
within the subsidiary, records of the subsidiary were stored at the parent’s offices, and the

companies shared payroll and accounting systems. /d. at 39-4]. These facts are substantially

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a EMOI attempts to undermine the significance of overlapping management by pointing to cases in which it

was found to be a relevant, but ultimately insufficient, indication of an alter ego relationship. The only significance
of EMOI's case law is to emphasize that the alter ego analysis is a “fact-specific inquiry” that requires a balancing
of many relevant factors, Verni v. Harry M. Stevens, Inc., 903 A.2d 475, 498 (N.J. Super, 2006); see also Langarten
y. Fork Research Corp., 1988 WL 7392 (Del. Ch. Feb. 3, 1988); Patent incentives, Inc. v. Seiko Epson Corp., No.
88-1407, 1988 WL 92460, at *7-8 (D.N.J. Sept. 6, 1988).

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2 The extent of reporting, review, approval, and intervention imposed on EMOT by its Parent Companies far
exceeded the “quarterly and annual reports” made to the parent in J re Acushnet River & New Bedford Harbor
Proceedings, 675 F. Supp. 22, 34 (D. Mass. 1987), cited by EMOI. Indeed, Dunn v. A/S Em, Z. Svitzer, 885 F.
Supp. 980, 988 (S.D. Tex. 1995), relied on by EMOI, makes clear that “day-to-day business and operational
decisions may not be made by the parent” without it “being considered to exercise domination” over the subsidiary.

EMO! also cites dicta in a footnote in City of Moundridg v, Exxon Mobil Corp., 244 F.R.D, 10 (D.D.C,
2007), to show that a supervisory relationship between parent and subsidiary is insufficient to pierce the corporate
veil, Moundridge-—a case about the admission of evidence and discovery, not the existence of personal
jurisdiction— stated that the evidence of supervision by the parent “does not necessarily establish personal
jurisdiction.” /d. at 13 (emphasis added). Contrary to what EMOT claims, this statement implies that the
supervisory relationship between parent and subsidiary was indicative of an alter ego relationship, just as it is here.

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Individually and in the aggregate, this evidence is more than sufficient to show that
EMOI and the Parent Companies evince a unity of interest and ownership.”

2. inequitable Results Would Follow a Failure to Find EMOI the Alter Ego
of the Parent Companies

Contrary to Defendants’ contention, “fraud is not a prerequisite in a suit to disregard the
corporate fiction.” Labadie, 672 F.2d at 99; see Shapiro, 90 F. Supp.2d at 26 (“A finding of
unfairness does not require fraud, or willfully wrongful conduct.”). The very cases cited by
Defendants support this point of law. See, e.g., Lucas v. Texas Industries, Inc., 696 S.W.2d 372,
375 (Tex. 1984) (“In a tort case, it is not necessary to find an intent to defraud” to disregard the
corporate form); Mobil Oil Corp. v. Linear Films, Inc., 718 F. Supp. 260, 268 (D. Del. 1989)
(holding that frand is not the only basis for finding an alter ego relationship and piercing the
corporate veil). A case “must only present an element of injustice or fundamental unfairness to

justify the court’s piercing the veil.” Labadie, 672 F.2d at 99. Under Labadie,

25 The few District of Columbia cases EMO! cites do not dictate a different result. In Gonzalez v.

Internacional De Elevadores, S.A,, 891 A,2d 227 (D.C. 2006), the court found that it lacked personal jurisdiction
under an alter ego theory because, inter alia, the two companies “did not share any employees, managers, officers,
office equipment, or office space.” fd. at 237. Crucially, the plaintiff did not offer any evidence to the contrary.
The facts of Gonzalez could not be further from the facts presented here. Similarly, in Diamond Chemical, Ine. v.
Atofina Chemicals, Inc., the only connection between the subsidiary and the parent were shared executive positions
and joint promotion of the two entities, Total Fina Elf and Atofina, after the TotalFinaElf Aquitaine merger, 268 F.
Supp. 2d at 8-9. These limited connections do not compare to the volume of evidence Plaintiffs offer demonstrating
how the Parent Companies exercised control over EMO].

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The “errant” party need not have willfully wronged the other party, nor need he have
engaged in anything amounting to fraud in their relationship. The essence of the
fairness test is simply that an individual businessman cannot hide from the normal
consequences of carefree entrepreneuring by doing so through a corporate shell.

Labadie, 672 ¥.2d at 100.

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26 See also Vutitch, 482 A.2d at 819 (“insolvency or undercapitalization is often an important factor

evidencing injustice”); Verni, 903 A.2d at 500 (a hallmark of the injustice prong is “the undercapitalization of the
subsidiary rendering it judgment-proof”); Lucas, 696 S.W.2d at 375 (piercing corporate veil is appropriate if the
subsidiary “is not reasonably capitalized in light of the nature and risk of its business”); State Dep’t of
Environmental Protection vy. Ventron Corp., 468 A.2d 150, 165 (N.J. 1983) (capitalization key inquiry in
determining propriety of piercing the corporate veil).

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B. EMOI and the Parent Companies Constituted an Integrated Enterprise

This Court also has personal jurisdiction over EMOI because EMO] and the Parent
Companies are an integrated enterprise under District of Columbia law. Pursuant to the
integrated enterprise test, courts find that interrelated operations, centralized control of matters
underlying the litigation, common management, and common ownership or financial control
between a parent corporation and its subsidiary make the two corporations an integrated
enterprise. Richard v. Bell Atlantic Corp., 946 F. Supp. 54, 62 (D.D.C. 1996). “This analysis
ultimately focuses on the question whether the parent corporation was a final decision-maker in
connection with” the matters underlying this litigation. Lusk v. Foxmeyer Health Corp., 129
F.3d 773, 777 (Sth Cir. 1997). Jurisdiction over the subsidiary is proper in such an integrated
enterprise because the contacts of the parent are treated as the contacts of the subsidiary. See
Material Supply, 62 F. Supp. 2d at 20 (integrated enterprise test can be used to establish
jurisdiction over a subsidiary that is involved in an integrated enterprise with parent
corporations); Procaccino-Hague v. Boll Filter Corp., No 303CV1560, 2004 WL 78155, at *3

(D. Conn, Jan. 13, 2004).

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Richard, 946 F, Supp. at 66-67 (finding overarching corporate guidelines relevant to establishing

integrated enterprise).

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see Procaccino-Hague, 2004 WL 78155,
at *3 (concluding that jurisdiction was proper under the integrated enterprise test because, inter
alia, the subsidiary “operated more as a branch office of’ the parent than a separate entity).

Thus, the jurisdictional contacts of the Parent Companies are attributable to EMOI under
either an “alter ego” or “integrated enterprise analysis. The Parent Companies do not contest this
Court’s jurisdiction. Accordingly, jurisdiction over EMO is also proper.

CONCLUSION

This Court has personal jurisdiction over EMOI for two independent reasons: (1) the
Court has jurisdiction under D.C, Code § 13-423, because EMOI transacted business in the
District of Columbia directly and through its agent, - _ and because Plaintiffs’ claims
relate to those jurisdictional contacts; and (2) the Court has jurisdiction because the jurisdictional
contacts of the Parent Companies should be attributed to EMOI under an “alter ego” or
“integrated enterprise” analysis. On either or both of these grounds, the Court should deny

Defendant ExxonMobil Oil Indonesia Inc.’s Motion to Dismiss for Lack of Personal Jurisdiction.

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Dated: March 21, 2008

Confidential Subject to Protective Order
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CERTIFICATE OF SERVICE

I hereby certify that on the 21st day of March, 2008, a redacted copy of the foregoing

Plaintiffs’ Memorandum in Opposition to Defendant ExxonMobil Oil Indonesia, Inc.’s Motion

to Dismiss for Lack of Personal Jurisdiction was served via the Court’s electronic filing system

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